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IN THE UNITED STATES DISTRICT COURT HHH,By_* nix
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION DSJULZZ PH 2:36
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MARTIN NoLAN, et al., w GFMBMWDB

Plaintiffs,
vs. Civ. No. 04-3047-D[P

MEMPHIS CITY SCHOOLS, et al.,

Defendants.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was set
for July 21, 2005. Prior to the conference, William T. Winchester,
counsel for plaintiffs, and Michael R. Marshall and Cheryl R.
Estes, counsel for defendants submitted a joint proposed order
which was approved by the Court. The following dates were
established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(&)(1):
AuguSt 12, 2005

JOINING PARTIES: September 23, 2005

AMENDING PLEADINGS: OCtOber 7, 2005

INITIAL MOTIONS TO DISMISS: September 9, 2005
COMPLETING ALL DISCOVERY: May 31, 2006

(a) DocUMENT PRoDUcTIoN= May 5, 2006

Thls document entered on the docket s et e
with Hule 58 and/or 79(a) FRCP on

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: May 5, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: March l, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: MarCh 31, 2006

(3) RULE 26(€) SUPPLEMENTATION: April 14, 2006
(4) EXPERT WITNESS DEPOSITIONS: MarCh 31, 2006
FILING DISPOSITIVE MOTIONS: June 16, 2006
OTHER RELEVANT MATTERS:

Certain defendants were only recently served, and, therefore,
the court finds a sufficient basis to extend deadlines beyond the
time allowed under the Civil Justice Reform Act.

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for‘ admissions, or‘ other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated. that the trial will last
approximately five (5) days.

Settlement cannot be evaluated at this time.
The parties are reminded that pursuant to Local Rule

ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion. for leave to file a reply

accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties do not consent to all matters being conducted by

a magistrate judge.

TU M. PHAM
United States Magistrate Judge

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Date U

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-03047 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

